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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    July 8, 2021

Via Email
Michael E. Lawlor
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Counsel for Zachary Jordan Alam

      Re:       United States v. Zachary Jordan Alam
                Case No. 1:21-cr-00190-DLF

Dear Counsel:

      Enclosed as additional discovery in this case, via filesharing, are the following materials:
         1. Excerpts of Metropolitan Police Department body worn camera footage
             from Upper House Door exit (24 videos)
         2. Open-source videos of shooting (Parler video of defendant’s statements
             upon exiting; two videos of shooting; video of defendant in Crypt)
         3. MARKED SENSITIVE: Videos obtained from other Capitol
             investigations (18 files):
                 a. D-2 – 3 photographs, 1 video
                 b. D-3 – 3 videos
                 c. D-4 – 1 video
                 d. D-5 – 1 video
                 e. D-6 – 1 video
                 f. D-7 – 1 video
                 g. W-4 – 2 videos
                 h. W-5 – 1 video
                 i. W-6 – 4 videos
         4. MARKED SENSITIVE: Officer interview transcripts (2 files)
         5. Search Warrant and Search Warrant Return for defendant’s 4 devices
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       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        These materials are subject to the Protective Order entered in this case. Please adhere to
sensitivity markings.

        I will forward additional discovery as it becomes available. Due to the extraordinary
nature of the January 6, 2021 Capitol Attack, the government anticipates that a large volume of
materials may contain information relevant to this prosecution. These materials may include, but
are not limited to, surveillance video, statements of similarly situated defendants, forensic
searches of electronic devices and social media accounts of similarly situated defendants, and
citizen tips. The government is working to develop a system that will facilitate access to these
materials. In the meantime, please let me know if there are any categories of information that
you believe are particularly relevant to your client.

       If you have any questions, please feel free to contact me.

                                                     Sincerely,



                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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